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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

   SUNG HEE JOO,
   and other similarly situated individuals,
                                                       CASE NO.:
           Plaintiff,

   v.

   UNIVERSITY OF MIAMI,
   a Florida Not for Profit Corporation,

         Defendant.
   _____________________________________/

                             DEFENDANT’S NOTICE OF REMOVAL

         Defendant, University of Miami (the “University”), by and through undersigned counsel

  and pursuant to 28 U.S.C. §§ 1441 and 1446, hereby files this Notice of Removal of the above-

  captioned case from the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade

  County, Florida, in which it is now pending, to the United States District Court for the Southern

  District of Florida. In support hereof, the University states as follows:

         1.      Plaintiff, Sung Hee Joo, commenced the above-styled action by filing a Complaint

  against the University in the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade

  County, Case No. 2018-029390-CA (02), on or about August 28, 2018. Plaintiff’s Complaint

  alleges a single claim under the Equal Pay Act of 1963, 29 U.S.C. § 206.

         2.      This Court has original jurisdiction over Plaintiff’s Equal Pay Act claim pursuant

  to 28 U.S.C. § 1331, which provides that “[t]he district courts shall have original jurisdiction of

  all civil actions arising under the Constitution, laws or treaties of the United States.”

         3.      The University properly may remove this claim to this Court pursuant to 28 U.S.C.

  § 1441(a), which provides that “any civil action brought in a State court of which the district courts
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  of the United States have original jurisdiction, may be removed by the defendant or the defendants,

  to the district court of the United States for the district and division embracing the place where

  such action is pending.”

         4.      Pursuant to 28 U.S.C. § 1446(a), this Notice of Removal has been signed by counsel

  for the University pursuant to Fed. R. Civ. P. 11.

         5.      Pursuant to 28 U.S.C. § 1446(a), this Notice of Removal contains “a short and plain

  statement of the grounds for removal, together with a copy of all process, pleadings, and orders

  served upon” the University in this action, which are attached hereto as Exhibit A.

         6.      The University was served with the Summons and Complaint in this action on

  September 11, 2018. This Notice of Removal is being filed less than thirty (30) days after the

  University was served with the Summons and Complaint. Therefore, it is timely pursuant to 28

  U.S.C. § 1446(b).

         7.      Pursuant to 28 U.S.C. § 1446(d), a true and correct copy of this Notice of Removal

  will be served on counsel for Plaintiff and will be filed with the Clerk of the Circuit Court of the

  Eleventh Judicial Circuit of Florida.

                                                Respectfully submitted,

                                                ISICOFF RAGATZ
                                                601 Brickell Key Drive, Suite 750
                                                Miami, Florida 33131
                                                Tel.: (305) 373-3232
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                                                By: /s/Teresa Ragatz
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served via e-mail

  and/or CM/ECF this 21st day of September, 2018, upon the following:

  Anthony M. Georges-Pierre, Esq.
  Max L. Horowitz, Esq.
  Remer & Georges-Pierre, PLLC
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                                            By: /s/Teresa Ragatz
                                                   Teresa Ragatz




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